                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

UNITED STATES OF AMERICA                  )
          Plaintiff,                      )
                                          )
            v.                            )                 3:06CR74
                                          )
RICKY EDWARD GRAVES                       )                 ORDER
            Defendant.                    )
__________________________________________)


       THIS MATTER IS BEFORE THE COURT on the Defendant’s Motion to Modify

Conditions of Release (Document No. 52) filed August 16, 2006, under seal. The undersigned’s

staff has been in communication with counsel for both the parties about both the merits of the

motion and its status as a sealed motion. Assistant U.S. Attorney Matthew Martens indicated

that the United States does not oppose the motion. Defense counsel Peter Anderson understands

the motion will be unsealed by this order.

       IT IS THEREFORE, ORDERED that the Defendant’s Motion to Modify Conditions of

Release (Document No. 52) is hereby ordered UNSEALED and GRANTED.

       IT IS FURTHER ORDERED that the conditions of release of the Defendant, Ricky

Edward Graves, be modified and that the Defendant be allowed to travel to Florida, Georgia and

Virginia, as long as the Defendant makes these travel plans known in advance to his United

States Probation Officer.                       Signed: August 21, 2006




       Case 3:06-cr-00074-WEB           Document 55       Filed 08/21/06     Page 1 of 2
Case 3:06-cr-00074-WEB   Document 55   Filed 08/21/06   Page 2 of 2
